     Case 3:20-cv-00349-JAG Document 52 Filed 07/15/20 Page 1 of 2 PageID# 907




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division



THE CONSTITUTION PARTY OF VIRGINIA, et al.,
               Plaintiffs,

V.                                                                    Civil Case No. 3:20-cv-349

VIRGINIA STATE BOARD OF ELECTIONS,et al..
                       Defendants.

                                         FINAL ORDER


        The matter comes before the Court following a bench trial. For the reasons stated in the

accompanying Opinion,the Court CONCLUDES that the signature requirements set forth §§ 24.2-

506(A)(l)-(2), 24.2-543 are unconstitutional as applied to the named plaintiffs during this election

cycle. See 42 U.S.C. § 1983. Accordingly, the Court ENJOINS the defendants from enforcing

those requirements as to the named plaintiffs for the 2020 general election in Virginia and

ORDERS as follows:


         1.    The deadline for the named plaintiffs seeking to appear as candidates for the U.S.

House of Representatives and U.S. Senate is extended to August 1, 2020, at 7:00 p.m. See Va.

Code Ann.§ 24.2-507. Those named plaintiffs shall appear on the ballot ifthey submit signatures

of qualified voters totaling at least 35 percent of the total petition signatures required by Virginia

Code § 24.2-506(A)(l),(2), and meet all other conditions to appear on the 2020 Virginia general

election ballot as candidates for the U.S. Senate or U.S. House of Representatives.

        2.     The named plaintiffs seeking to appear as candidates for U.S. President and U.S.

Vice President shall appear on the ballot if they submit signatures of qualified voters totaling at

least 50 percent ofthe total petition signatures required by Virginia Code § 24.2-543(A), and meet
Case 3:20-cv-00349-JAG Document 52 Filed 07/15/20 Page 2 of 2 PageID# 908
